Case: 3:16-cv-50310 Document #: 119 Filed: 05/17/19 Page 1 of 1 PageID #:1062

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Western Division

National Institute of Family and Life Advocates, et al.
                                                            Plaintiff,
v.                                                                        Case No.:
                                                                          3:16−cv−50310
                                                                          Honorable
                                                                          Rebecca R.
                                                                          Pallmeyer
Bryan A. Schneider, in his official capacity as Secretary
of the Illinois Department of Financial & Professional
Regulation, et al.
                                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 17, 2019:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Having reviewed
Defendant's Rule 56(d) affidavit, the court concludes Plaintiff is entitled to depose the six
individuals whose declarations have been submitted in support of Defendant&#0;39;s
motion for summary judgment. The court therefore reinstates the motion to stay
discovery, but denies it. The parties are directed to confer promptly to set dates for the
depositions of the declarants and, within ten days, to furnish the court with an agreed
deposition schedule. Plaintiff's memorandum in opposition to the motion for partial
summary judgment will be due 45 days after the depositions are completed. Mailed notice.
(etv, )




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